Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 1 of 24




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
  Civil Action No. 1: 19-cv-02842-SKC

  JONATHAN KEYWORTH,

                Plaintiff,

  v.

  LOWE’S COMPANIES, INC.1

                Defendant.

          MOTION FOR SUMMARY JUDGMENT AND SUPPORTING
                         MEMORANDUM




  1
    Lowe’s Companies, Inc. has been incorrectly named as the Defendant in this case. Lowe’s
  Home Centers, LLC employed Plaintiff Jonathan Keyworth and all other store employees and
  thus is the proper Defendant in this case.
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 2 of 24




                                                 TABLE OF CONTENTS
  TABLE OF CONTENTS ................................................................................................................. i

  I.        INTRODUCTION ...............................................................................................................1

  II.       STATEMENT OF UNDISPUTED FACTS ........................................................................1

            A.        Keyworth’s Employment History and Failure to Meet Basic Expectations. ...........1

            B.        Keyworth Files “Unsubstantiated” Internal Complaint After Not Being
                      Selected for ASM Position in a Different Market. ..................................................6

            C.        Keyworth is Placed on Performance Improvement Plan and Does Not
                      Meet Expectations. ...................................................................................................7

  III.      LEGAL FRAMEWORK ...................................................................................................10

  IV.       ARGUMENT .....................................................................................................................11

            A.        Keyworth Cannot Establish a Prima Facie Case of Discrimination. .....................11

            B.        Lowe’s Had a Legitimate, Non-Discriminatory Basis for Its Decisions and
                      the Decision was Not Pretextual. ...........................................................................13

            C.        Keyworth Cannot Demonstrate a Causal Connection Between the
                      Employee’s Action and the Employer’s Adverse Action, Nor Can He
                      Demonstrate Lowe’s Legitimate Reason for Discharge was Pretext for
                      Retaliation. .............................................................................................................16

  V.        CONCLUSION ..................................................................................................................19




                                                                        i
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 3 of 24




                                               TABLE OF AUTHORITIES

                                                                                                                            Page(s)
                                                               CASES

  Ainsworth v. Indep. Sch. Dist. No. 3 of Tulsa County, Okla.,
     232 Fed. Appx. 765 (10th Cir. 2007)(unpublished).................................................................12

  Barlow v. C.R. England, Inc.,
     703 F.3d 497 (10th Cir. 2012) .................................................................................................12

  Branson v. Price River Coal Co.,
     853 F.2d 768 (10th Cir. 1988) .................................................................................................11

  Dewitt v. S.W. Bell Tel. Co.,
     845 F.3d 1299 (10th Cir. 2017) .............................................................................10, 11, 13, 15

  E.E.O.C. v. C.R. Eng., Inc.,
     644 F.3d 1028 (10th Cir. 2011) ...............................................................................................11

  Hysten v. Burlington N. and Santa Fe Ry. Co.,
     296 F.3d 1177 (10th Cir. 2002) .........................................................................................16, 17

  Mawson v. U.S. W. Bus Resources, Inc.,
    23 F. Supp. 2d at 1213 (D. Colo. 1998) .......................................................................10, 11, 18

  McDonnell-Douglas Corp. v. Green,
    411 U.S. 792, 93 S. Ct. 1817, 36 L.Ed 2d 668 1973..........................................................10, 11

  Morgan v. Hilti, Inc.,
    108 F.3d 1319 (10th Cir. 1997) ....................................................................................... passim

  Nealey v. Water Dist. No. 1 of Johnson County,
     324 Fed. Appx. 744 (10th Cir. 2009)(unpublished).................................................................15

  Oglesby v. Hy-Vee, Inc.,
     214 Fed. Appx. 829 (10th Cir. 2007)(unpublished).................................................................14

  Randle v. City of Aurora,
     69 F.3d 441 (10th Cir. 1995) ...................................................................................................11

  Simmons v. Sykes Enters, Inc.,
     647 F.3d 943 (10th Cir. 2011) .................................................................................................15

  Vinez v. Sky Chefs, Inc.,
     658 Fed. Appx. 390 (10th Cir. 2016)(unpublished).................................................................12




                                                                   ii
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 4 of 24




                                                                  STATUTES

  ADA (Americans With Disabilities Act of 1990)..........................................................................11

                                                         OTHER AUTHORITIES

  Fed. R. Civ. P. 56 .............................................................................................................................1

  Fed. R. Civ. P. 56(a) ......................................................................................................................10

  Fed. R. Civ. P. 56(c) ......................................................................................................................10




                                                                        iii
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 5 of 24




         Defendant, Lowe’s Companies, Inc., (“Lowe’s”), through its counsel, hereby submits this

  Memorandum in Support of Motion for Summary Judgment pursuant to Fed. R. Civ. P. 56.

  I.     INTRODUCTION

         Jonathan Keyworth has alleged causes of action for discrimination and retaliation. He

  alleges that he was discriminated against when not selected for an ASM position in a different

  market, and when he was later discharged. Both employment decisions however were based

  solely on Keyworth’s performance. Keyworth was consistently unavailable for his team and on

  multiple occasions was found sleeping on the job or watching a movie when he should have been

  working. Moreover, Keyworth consistently did not meet sales performance expectations.

         Keyworth cannot establish prima facie cases of discrimination or retaliation because he

  cannot show a discriminatory or retaliatory motive. And, Lowe’s had a legitimate, non-

  discriminatory and non-pretexual reason for its employment decisions based on Keyworth’s

  below-par performance. Clearly, an employer should be permitted to discharge an employee

  who is repeatedly sleeping at work, failing to meet expectations, not showing up for his

  teammates and whose performance is impacting the effectiveness of the store. For these reasons,

  based on the undisputed facts, the Court should grant Lowe’s summary judgment.

  II.    STATEMENT OF UNDISPUTED FACTS

         A. Keyworth’s Employment History and Failure to Meet Basic Expectations.

         Keyworth was hired as Assistant Store Manager (“ASM”) in Renton, Washington in

  November 2012. Statement of Undisputed Material Facts (“SUMF”), ¶ 1. A year later he

  transferred to an ASM position in Westminster, Colorado and transferred three years later to

  Arvada, Colorado in an ASM of sales position. SUMF, ¶ 2. Shortly after being transferred to the

  Arvada, Colorado store, coworkers began submitting complaints about Keyworth to store

  management and human resources. SUMF, ¶ 3.


                                                  1
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 6 of 24




         On January 3, 2018, a female employee contacted the store’s Human Resource Manager,

  Steven Joyce regarding concerns with Keyworth’s behavior. SUMF ¶ 4. The employee reported

  that Keyworth was emotional, acting odd and tried to gift her jewelry, which made her feel

  uncomfortable. Id. On January 12, 2018, human resources received three additional complaints

  about Keyworth. SUMF ¶ 5. All three employees reported that he smelled of alcohol or was

  acting intoxicated while at work. SUMF ¶¶ 7-9. Also, among the three complaints were reports

  that Keyworth was rude to an associate seeking assistance, was not supporting certain areas of

  the store, and was found sleeping in offices on multiple occasions. Id.

         Joyce and Area Human Resource Manager Chris Hernandez met with Keyworth on or

  about January 15, 2018 to discuss the concerns they received regarding his behavior and to offer

  him assistance. SUMF, ¶ 9. Keyworth denied that he was intoxicated and/or sleeping during his

  shift. SUMF, ¶ 10. Keyworth told Hernandez and Joyce that he appeared intoxicated because of

  medication he was taking and smelled like alcohol because he chewed nicotine gum. SUMF, ¶

  11. Keyworth assured Joyce and Hernandez that he did not need assistance or treatment. SUMF ¶

  12.

         Shortly after the meeting, Keyworth applied for and received a leave of absence, which

  he was on from January 26, 2018 through February 9, 2018. SUMF, ¶ 13. When he returned to

  work, he sought and was granted a workplace accommodation for a condition called hypoxemia

  which impacted his breathing. SUMF, ¶ 14. Specifically, Keyworth was permitted to sit 15-20

  minutes per hour while performing his job duties. SUMF, ¶ 15. Keyworth understood that, as a

  result of his accommodation, he was permitted to take a break from standing or walking, but that

  he was still required to complete work from a seated position during the accommodation break.

  SUMF, ¶ 16.




                                                  2
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 7 of 24




         In February 2018, Keyworth was required to present at the ASM Sales Summit his plan

  to drive sales in the upcoming months. SUMF, ¶ 17. At the presentation, Keyworth appeared

  unprepared, did not communicate his plan effectively, and did not present a specific plan as to

  how he would help drive sales. SUMF, ¶ 18. District Manager Ben Stewart saw the performance

  and commented to Store Manager Hall that Keyworth struggled during his presentation. SUMF,

  ¶ 19. Hall provided Keyworth this feedback. SUMF, ¶ 20.

         In June 2018, Keyworth’s coworkers submitted additional complaints regarding his

  behavior. On June 6, 2018, Back End Support Manager Tonya Crane submitted a statement to

  human resources, by email, which reported that she found Keyworth in the loss prevention

  office, with the lights off and the motion sensor deactivated. SUMF, ¶ 21. Crane reported

  Keyworth appeared to be sleeping in the office. Id. Around the same time, human resources also

  received complaints from Department Manager Pete Hicks and ASM Vince McMenus that

  Keyworth was spending significant time in the loss prevention office. SUMF, ¶ 22.

         Several days later, on June 13, 2018, a fellow ASM McMenus submitted a written

  complaint to human resources regarding Keyworth’s behavior. SUMF, ¶ 23. McMenus reported

  that the store was attempting to locate Keyworth to investigate a potential theft in the store’s

  parking lot. SUMF, ¶ 24. After calling Keyworth’s phone, which had a busy signal, and paging

  Keyworth over the store’s intercom system, McMenus went into the loss prevention room to

  review the video footage of the parking lot. SUMF, ¶¶ 24-25. Again, the lights in the loss

  prevention office were off, and were not activated by the motion sensor. SUMF, ¶ 26. McMenus

  found Keyworth “slumped over” and “sleeping at the desk with the stores video feed on the

  monitors and a video playing on his phone.” SUMF, ¶ 27. McMenus reported that he woke

  Keyworth from his slumber. Id.




                                                    3
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 8 of 24




         Another employee, Jeremiah Foco, submitted a statement regarding Keyworth’s June 13,

  2018 behavior. SUMF, ¶ 28. He reported that “like usual” Keyworth “disappeared from his

  duties on the floor” and went into the loss prevention office around 8:30 a.m. Id. After a

  customer reported a theft in the parking lot around 9:30 a.m., Foco attempted to contact

  Keyworth by phone and page. SUMF, ¶ 29. When Keyworth was unreachable, Foco contacted

  McMenus for help and McMenus located Keyworth in the loss prevention office. SUMF, ¶ 30.

  Foco reported that Keyworth then took a two-hour lunch, which Foco stated was “normal

  behavior for him.” SUMF, ¶ 31.

         As a result of the continued complaints regarding Keyworth’s lack of availability to his

  coworkers, the concerning reports that he was sleeping on the job, and his failure to meet

  expectations on sales metrics, Hall and Joyce communicated with Keyworth, on multiple

  occasions, to coach him on his performance. SUMF, ¶ 32. On or about June 15, 2018, Hall and

  Joyce met with Keyworth and explained that his lack of availability to his team during his shift

  was having a negative impact on his peers and team and was unacceptable. SUMF, ¶ 33.

  Specifically, Hall and Joyce informed Keyworth it was unacceptable to not answer his phone,

  forward calls to other managers and customer service, take long lunches and not be available.

  SUMF, ¶ 34. Hall and Joyce also discussed several performance metrics which were lacking and

  the expectations for those metrics. SUMF, ¶ 35. During this meeting, Keyworth informed Hall

  and Joyce that he was struggling with depression. SUMF, ¶ 36. Hall and Joyce explained that

  Lowe’s would continue to accommodate his medical needs. Id.

         Despite the repeated coaching, Keyworth’s performance did not improve. On June 29,

  2018, employee Alicia Kruse emailed Hall that she had observed Keyworth walking into a liquor

  store during what she assumed was his lunch break. SUMF, ¶ 37. She reported smelling alcohol




                                                  4
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 9 of 24




  on Keyworth when he returned. SUMF, ¶ 38. A month later, on July 29, 2018, employee

  McMenus emailed Hall and Joyce at 1:23 p.m. to report that store employees had been “looking

  for Jonathan [Keyworth] since about 9:30 this morning with not [sic] luck[.]” SUMF, ¶ 39.

  Keyworth was scheduled to work that day from 7:00 a.m. to 6:00 p.m. SUMF, ¶ 40. McMenus

  followed up hours later at 6:30 p.m. to report he did not see Keyworth “once today.” SUMF, ¶

  41.

         The next day, Hall substantiated the employee complaints management had been

  receiving when he discovered Keyworth in a dark office watching a movie. SUMF, ¶¶ 42-46. On

  that day, Keyworth returned from his lunch break at 5:36 p.m. SUMF, ¶ 42. At 5:52 p.m. Hall

  began searching for Keyworth on the sales floor. SUMF, ¶ 43. At approximately 6:05 p.m., Hall

  found Keyworth in an office, “shoes off, feet up in the dark watching a movie.” Id. Hall asked

  Keyworth if he “knew this was a bad look for him” and Keyworth responded “yup.” Hall then

  sent Keyworth home for the day. SUMF, ¶ 45. The following day Keyworth called off of work

  indicating he was sick. SUMF, ¶ 46.

         On August 16, 2018, human resources received another complaint from Kruse regarding

  Keyworth. SUMF, ¶ 47. Kruse reported that she approached Keyworth to obtain his assistance in

  overriding an order and saw that Keyworth was viewing women “with minimal clothing posing

  with army gear and holding guns” on his computer screen. Id. She reported that his cell phone

  screen showed a gambling game. Id. This behavior did not show that Keyworth was taking

  seriously the coaching he received from management regarding the need that he be available for

  his team.




                                                  5
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 10 of 24




          B. Keyworth Files “Unsubstantiated” Internal Complaint After Not Being Selected
             for ASM Position in a Different Market.

          After being transferred to the Arvada store, Keyworth applied for several ASM positions

   in other stores, but was never selected. SUMF, ¶ 48. Specifically, on or about January 12, 2018,

   Keyworth applied for an ASM position in “Store 1755.” Id. Keyworth also applied for an ASM

   position in “Store 2780” three times between mid-May and July, 2018. Id. In all instances,

   Keyworth was not selected for what would have been a transfer to an ASM position in a different

   market. Id.

          Keyworth interviewed with the Store Manager of Store 2780, Jonathan Glassburn, at the

   end of May 2018. SUMF, ¶ 49. Several days after the interview, on May 30, 2018, Keyworth

   made an EEOC inquiry. SUMF, ¶ 50. Keyworth testified he made the inquiry because he felt that

   Store 2780 had discriminated against him when Glassburn told Keyworth during the interview

   that he was going to follow up with him the next day, and then did not. SUMF, ¶ 50. Keyworth

   testified that Glassburn did not talk to him until a week later and then reposted the ASM position.

   Id. On June 12, 2018, after seeing that the Store 2780 ASM position had been reposted,

   Keyworth emailed Glassburn to tell him he wanted to transfer to his store. SUMF, ¶ 53. On June

   15, 2018, in a meeting to address concerns they had with Keyworth’s performance, Hall and

   Joyce explained to Keyworth that because of his performance in the Arvada store, during

   regional visits, and at the ASM Sales Summit, he did not have the sponsorship of the market to

   transfer to Store 2780. SUMF, ¶ 53.

          On June 21, 2018, Keyworth utilized Lowe’s internal reporting service and complained

   that: (1) he waited a week to learn he did not receive the ASM position that he interviewed for in

   late-May; (2) he was unable to reapply for the ASM position and had not received a response

   from his June 12th email; and (3) he felt “discriminated against.” SUMF, ¶ 54. Keyworth did not



                                                   6
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 11 of 24




   specify why he thought Lowe’s had discriminated against him or on what basis he believed

   Lowe’s had discriminated against him. SUMF, ¶ 55.

          Employee Relations investigated Keyworth’s complaint against Store 2780. SUMF, ¶

   57. After investigation, Lowe’s Employee Relations determined that Store 2780 was unable to

   offer Keyworth the ASM position he had applied for because Keyworth did not have market-

   level support for the transfer due to his performance in his current store. Id. As such, Employee

   Relations determined that Store 2780 did not discriminate against Keyworth by not selecting him

   for the ASM position, and Keyworth’s claims were unsubstantiated. SUMF, ¶ 58.

          C. Keyworth is Placed on Performance Improvement Plan and Does Not Meet
             Expectations.

          After repeated informal coaching attempts to improve Keyworth’s behavior and

   performance were unsuccessful, Lowe’s placed Keyworth on a performance improvement plan.

   The performance improvement plan was delivered to Keyworth on August 17, 2018 (the “PIP”).

   SUMF, ¶ 59. The PIP set forth performance expectations for Keyworth, how those performance

   expectations would be measured, and the support available to Keyworth to help him meet

   expectations. Id. Lowe’s tasked Keyworth with developing an action plan to meet performance

   expectations. SUMF, ¶ 60. The PIP made clear that failure to meet performance expectations

   while on the PIP could result in termination. SUMF, ¶ 61. On August 23, 2018, Keyworth

   submitted his action plan, as pictured below:




                                                   7
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 12 of 24




   SUMF, ¶¶ 59-61.

          Despite the PIP and continued performance coaching, Keyworth did not change his

   behaviors. On August 26, 2018, Keyworth texted a coworker Steve Turano in a string including

   McMenus and Joyce. SUMF, ¶ 62. Keyworth demanded Turano come into work. Id. Turano,

   who had called off work, responded that he was “not feeling good at all” and that he had called

   off as he was “having major stomach issues.” SUMF, ¶ 63. In response, Keyworth responded,

   “Well Vince said you have not talked to him and told Doug last night. If your [sic] in that much

   pain we will need a note from the ER. Otherwise I will see you in 20 minutes.” SUMF, ¶ 64.

   Turano reported that he felt threatened by the text messages from Keyworth. SUMF, ¶ 65. The

   next day, on August 27, 2018, employee Janette Chavez texted Hall and reported that Keyworth

   smelled of alcohol, was acting strange, and unavailable when the team needed a manager.

   SUMF, ¶ 66.




                                                   8
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 13 of 24




          On or about September 1, 2018, Hall met with Keyworth to discuss his progress on his

   action plan. SUMF, ¶ 67. Hall informed Keyworth that he had not met expectations during the

   period August 24, 2018 through August 31, 2018. Id. During that time period, Keyworth had

   locked the lumber department doors nearly an hour before closing, locking a customer inside the

   building. SUMF, ¶ 68. And, management also received unsolicited feedback that staff had a

   difficult time contacting or locating Keyworth in the store when they needed him. SUMF, ¶ 69.

   During the same time period, Keyworth had not met expectations on all performance metrics,

   specifically Keyworth’s development of leads for interior and exterior specialists and

   expectations related to pro sales. SUMF, ¶ 70. Pro sales are sales made to contractors who use a

   Lowe’s pro credit card, a special card used for corporate purchases. Id.

          On September 7, 2018, after Joyce received a call for an override that Keyworth could

   have handled had he been available, Joyce and Hall searched for Keyworth. SUMF, ¶ 71. Joyce

   and Hall looked inside the tool display storage closet, where Joyce had heard someone had been

   hiding. Id. A bungie cord had been hooked over the lever to draw the door shut, and Keyworth

   was in the closet, crying. SUMF, ¶ 72. Hall asked Keyworth to meet him in his office. SUMF, ¶

   73.

          While in Hall’s office, Keyworth told Hall, “[i]f [Hall was] going to fire him, then fire

   him” and that with respect to Lowe’s his head was “gone.” SUMF, ¶ 72. Hall told him to go to

   lunch and that they would talk when he returned. SUMF, ¶ 74. Keyworth did not return to work

   that day. SUMF, ¶ 75.

          On September 10, 2018, Keyworth arrived to work at 8:22 a.m., despite being scheduled

   to arrive at 7:00 a.m. SUMF, ¶ 76. Joyce and Hall met with him at 8:45 a.m. to obtain a




                                                   9
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 14 of 24




   statement from him regarding being found in the tool display closet on September 7th. Id.

   Keyworth refused to provide a statement. SUMF, ¶ 77.

           Hall next provided Keyworth feedback on his progress on the PIP. Hall told Keyworth

   that he had not connected with his team in a meaningful way or exhibited expected leadership

   behaviors. SUMF, ¶ 78. Hall also provided feedback that Keyworth’s peers had continued to

   provide unsolicited feedback which demonstrated “little to no improvement” in Keyworth’s

   “attitude and demeanor” and that he continued to be unavailable for his team members. Id.

   Keyworth refused to provide any statements related to the PIP. SUMF, ¶ 79.

           On September 12, 2018, Keyworth was discharged for failure to show immediate and

   sustained improvement as outlined in the PIP. SUMF, ¶ 80. This suit followed.

   III.    LEGAL FRAMEWORK

           Where the plaintiff relies on circumstantial instead of direct evidence, as Keyworth does

   here, the Court applies the analytical framework first articulated in McDonnell-Douglas Corp. v.

   Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L.Ed 2d 668 1973). Dewitt v. S.W. Bell Tel. Co., 845

   F.3d 1299, 1307 (10th Cir. 2017); Morgan v. Hilti, Inc., 108 F.3d 1319, 1323 (10th Cir. 1997).

   The McDonnel-Douglas Corp. burden shifting framework involves three steps: (1) the plaintiff

   must establish a prima facie case of discrimination or retaliation; (2) if the plaintiff satisfies this

   initial burden, the defendant employer must offer a legitimate, non-discriminatory reason for the

   adverse employment action, and (3) the burden then shifts back to the plaintiff who must show

   the employer’s proffered legitimate reason is pretextual. Dewitt, 845 F.3d 1299 (citing

   McDonnell-Douglas Corp, 411 U.S. at 802). To avoid summary judgment, the plaintiff initially

   must raise a genuine issue of material fact on each element of a prima facie case. Mawson v.

   U.S. W. Bus Resources, Inc., 23 F. Supp. 2d 1204, 1213 (D. Colo. 1989); Fed. R. Civ. P. 56(a),

   (c). And, once the defendant shows a legitimate, nondiscriminatory reason for the employment


                                                      10
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 15 of 24




   actions being challenged, the plaintiff must again show a genuine dispute of material fact as to

   whether the employer’s proffered reason for the challenged action is unworthy of belief. Id.

   (citing Randle v. City of Aurora, 69 F.3d 441, 451 (10th Cir. 1995)). “Mere conjecture that the

   employer’s explanation is a pretext for intentional discrimination is an insufficient basis for

   denial of summary judgment.” Id. (quoting Branson v. Price River Coal Co., 853 F.2d 768, 772

   (10th Cir. 1988)) (internal quotations omitted).

   IV.    ARGUMENT

          A. Keyworth Cannot Establish a Prima Facie Case of Discrimination.

          Keyworth cannot carry his burden of establishing a prima facie case of discrimination

   based on disability because the undisputed facts show no inference that the discharge was based

   on his lung disease or PTSD. To make out a prima facie case for discrimination based on

   disability, Keyworth must show that he: “(1) is a disabled person as defined by the ADA; (2) is

   qualified, with or without reasonable accommodation, to perform the essential functions of the

   job held or desired; and (3) suffered discrimination by an employer or prospective employer

   because of that disability.” Dewitt, 845 F.3d at 1308 (citing E.E.O.C. v. C.R. Eng., Inc., 644 F.3d

   1028, 1037-38 (10th Cir. 2011)). The burden in step one of the McDonnell Douglas framework

   is not onerous, but it also is not empty or perfunctory. Morgan, 108 F.3d at 1324. Keyworth

   cannot establish the third prong, because he cannot present evidence that his disability was a

   determining factor in the employer’s decision to discharge him, or to not select him for an ASM

   positions in another market. Keyworth’s poor performance, specifically, his unavailability to his

   team, was the operative factor in Lowe’s decisions, not Keyworth’s disabilities.

          Keyworth alleges that Lowe’s discriminated against him when Store 340 Manager

   Glassburn waited a week to inform him that he did not receive the ASM position in his store.

   SUMF, ¶ 51. Keyworth baldly speculates that Glassburn did not give him the job “because of


                                                      11
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 16 of 24




   [his] disabilities,” but can point to no established facts to support that conclusion. SUMF, ¶ 51.

   In fact, Keyworth has never articulated any rationale for his feeling that Store 340 did not offer

   him the position because he had a disability. When Keyworth lodged an internal complaint

   alleging discrimination he merely recited that: (1) he did not receive the position he wanted; (2)

   could not reapply for the position when reposted; and (3) could not get in contact with Glassburn

   regarding the posting. SUMF, ¶ 54. He then stated, “I have got to say that I really feel

   discriminated against.” SUMF, ¶ 54. When he wrote the June 21st complaint and submitted it by

   email, Keyworth was not even sure on what basis Lowe’s was allegedly discriminating against

   him. He testified in his deposition:


                  Q.      How were you being discriminated against?

                  A.     Against my age, my disabilities. I don’t know. I just felt
                  something was wrong, and I am using the open door policy to get
                  an answer.

   SUMF, ¶ 55. A mere feeling that something was wrong does not amount to affirmative evidence

   that disability was a determining factor in the decision to not hire Keyworth for a different ASM

   position. Ainsworth v. Indep. Sch. Dist. No. 3 of Tulsa County, Okla., 232 Fed. Appx. 765, 770

   (10th Cir. 2007)(unpublished) (citing Morgan, 108 F.3d at 1323-24).

          Keyworth also alleges that Lowes discriminated against him by terminating him on

   September 12, 2010 because of his disabilities. However, Keyworth again cannot establish an

   inference of actionable discriminatory animus. The undisputed facts demonstrate no “nexus”

   between the employee’s decision and discriminatory motive. Vinez v. Sky Chefs, Inc., 658 Fed.

   Appx. 390, 394 (10th Cir. 2016)(unpublished) (citing Barlow v. C.R. England, Inc., 703 F.3d

   497, 505 (10th Cir. 2012). Keyworth suggests that the discharge must have been discriminatory

   because it occurred five days after he was found in a storage closet crying by managers Hall and



                                                    12
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 17 of 24




   Joyce on September 7, 2018. See SUMF, ¶¶ 71-80. That fact does not amount to evidence that

   Keyworth’s disability (whether PTSD or lung disease) was a factor in the decision to discharge

   him. By September 7th, there had been numerous reports of Keyworth sleeping in offices while

   at work and Hall had witnessed him watching a movie in a dark room when he was supposed to

   be working. SUMF, ¶¶ 3-8; 21-31; 37-47. Moreover, before his discharge Keyworth never

   asserted that he was hiding in the storage closet because of his PTSD. In fact, when asked to

   provide a statement on September 10, 2018, he refused. SUMF, ¶¶ 78-79; Dewitt, 845 F.3d at

   1314 (employer’s request that employee provide explanation for his “side of the store defeats any

   inference of an unfair investigation.”)

          Additionally, the record shows that upon request Lowe’s worked to accommodate

   Keyworth’s disability, rather than discriminate against Keyworth because of his disability as

   Keyworth alleges. Keyworth applied for and received a leave of absence. SUMF, ¶¶ 13-14.

   And, when he returned, Keyworth was granted a workplace accommodation, which allowed him

   to take breaks from standing or walking. SUMF, ¶¶ 14-16.

          Keyworth cannot show there is a genuine dispute of material fact on the element of

   whether he suffered discrimination by an employer or prospective employer because of that

   disability, and as such cannot establish a prima facie case of discrimination.

          B. Lowe’s Had a Legitimate, Non-Discriminatory Basis for Its Decisions and the
             Decision was Not Pretextual.

          Assuming arguendo that Keyworth can establish a prima facie case of discrimination, the

   record clearly demonstrates Lowe’s had a legitimate, non-discriminatory basis for not selecting

   Keyworth for a different ASM position and for later discharging Keyworth. Both decisions were

   based on Keyworth’s below-par performance and the numerous, corroborated complaints that he

   was sleeping and watching movies when he should have been available to his team.



                                                   13
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 18 of 24




          As detailed above, from January 2018 (shortly after Keyworth started at the Arvada store)

   to August 2018, human resources and management received consistent complaints, both verbal

   and written, regarding Keyworth’s performance and behavior. Specifically, coworkers

   consistently complained that Keyworth was unavailable to them and even sleeping on the job.

   SUMF, ¶¶ 3-8; 21-31; 37-47; 68-69. Human resources and management met with Keyworth on a

   regular basis to discuss his performance deficiencies and to coach him to improve his behavior.

   SUMF, ¶ 32. In June 2018, Joyce and Hall specifically told Keyworth that it was unacceptable

   behavior to not answer his phone, forward calls to other managers and customer service, take

   long lunches and generally not be available when he should be working. SUMF, ¶ 34. In

   addition to not being available to his team, sleeping at work and exhibiting odd behaviors,

   Keyworth also struggled to meet performance metrics and presented poorly at the ASM Sales

   Summit held in February 2018. SUMF, ¶¶ 18, 20, 35, 53, 70. Despite, the coaching Keyworth

   chose not to improve his performance.

          As a result of his continued poor job performance, Lowe’s put Keyworth on the PIP.

   SUMF, ¶ 59. In initiating the PIP, Lowe’s informed Keyworth of his performance expectancies

   and how success of those expectancies would be measured. Id. Keyworth’s performance still did

   not improve. While on the PIP, Keyworth locked the lumber department doors nearly an hour

   before the store closed, was unavailable to his team members and continued to not meet

   expectations on sales performance metrics. SUMF, ¶¶ 67-70. And, on September 7, 2018, he

   was again found in another location where he had no reason to be in during working hours, and

   then left the store for lunch and did not return for the remainder of his shift. SUMF, ¶¶ 71-75.

   Keyworth’s poor job performance was a non-discriminatory business reason for not transferring

   Keyworth to a different ASM position and for discharging Keyworth. Oglesby v. Hy-Vee, Inc.,




                                                   14
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 19 of 24




   214 Fed. Appx. 829, 834 (10th Cir. 2007)(unpublished) (parties agree that sleeping on the job is

   a legitimate nondiscriminatory reason for terminating an employee); Nealey v. Water Dist. No. 1

   of Johnson County, 324 Fed. Appx. 744, 748 (10th Cir. 2009)(unpublished) (same). The burden

   therefore shifts back to Keyworth to demonstrate that Lowe’s stated reasons are pretextual,

   which he cannot do.

          In evaluating whether a decision was pretextual, the Court’s role is not to “ask whether

   the employer’s decision was wise, fair or correct, but whether it honestly believed the legitimate,

   nondiscriminatory reasons it gave for its conduct and acted in good faith on that belief.” Dewitt,

   845 F.3d at 1307 (internal quotations omitted). “Evidence that the employer should not have

   made the termination decision — for example, that the employer was mistaken or used poor

   business judgment — is not sufficient to show that the employer’s explanation is unworthy of

   credibility.” Dewitt, 845 F.3d at 1307 (citing Simmons v. Sykes Enters, Inc., 647 F.3d 943, 948

   (10th Cir. 2011) (internal quotations omitted). The Court’s role is to prevent intentional

   discriminatory practices, its role is not to “acts as a super personnel department, second guessing

   employers’ honestly held (even if erroneous) business judgments.” Dewitt, 845 F.3d at 1307.

          The undisputed facts demonstrate that Lowe’s decisions were not pretextual. Beginning

   in January 2018, Lowe’s management and human resources received consistent complaints from

   Keyworth’s coworkers that he was unavailable and sleeping on the job. SUMF, ¶¶ 3-8; 21-31;

   37-47; 68-69. Lowe’s decision to not transfer an employee who was not meeting expectations in

   his current role is not “unworthy of belief.” As Joyce and Hall explained to Keyworth in June,

   2018, Keyworth’s performance in the Arvada store, specifically his poor performance with

   Regional visits, ASM Sales Summit, ASM evaluations, and work performance stopped the

   market from sponsoring or recommending him for a transfer. SUMF, ¶ 53.




                                                   15
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 20 of 24




          When Keyworth did not improve to a level of expected performance, even after being

   placed on a PIP, Lowe’s discharged him, a decision which is certainly not “unworthy of belief.”

   Lowe’s specifically put Keyworth on notice that his behavior of not answering his phone, not

   being available to coworkers and sleeping on the job was unacceptable. SUMF ¶ 34. And yet, he

   continued to exhibit such behaviors. Keyworth cannot present evidence such that a reasonable

   jury could find pretext. As such, the Court should grant Lowe’s summary judgment on the

   disability discrimination claim.

          C. Keyworth Cannot Demonstrate a Causal Connection Between the Employee’s
             Action and the Employer’s Adverse Action, Nor Can He Demonstrate Lowe’s
             Legitimate Reason for Discharge was Pretext for Retaliation.

          To establish a prima facie case of retaliation, a plaintiff must show (1) protected

   employee action; (2) adverse action by an employer either after or contemporaneous with the

   employee’s protected action; and (3) a causal connection between the employee’s action and the

   employer’s adverse action. Morgan, 108 F.3d at 1324. Where, as here, there is no direct

   evidence of retaliatory motive, the McDonnel Douglas framework applies. Keyworth cannot

   show there is any disputed fact on the element of causation to meet his burden of establishing a

   prima facie case of retaliation.

          Keyworth alleges that Lowe’s discharged him because he complained about

   discrimination and retaliation. A retaliatory motive may be inferred when an adverse action

   closely follows protected activity. However, “unless the adverse action is very closely connected

   in time to the protected activity, the plaintiff must rely on additional evidence beyond temporal

   proximity to establish causation.” Hysten v. Burlington N. and Santa Fe Ry. Co., 296 F.3d 1177,

   1184 (10th Cir. 2002) (emphasis in original). In Hysten, adverse employment action occurring

   three months after the protected activity was insufficient to establish retaliatory intent by

   temporal proximity alone. Id. Keyworth alleges that he engaged in protected activity when he


                                                    16
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 21 of 24




   complained that he was being accused of inaccurate behaviors because of his disabilities in

   January, 2018 and that he complained he was being discriminated against on June 21, 2018.

   Keyworth was discharged nearly nine months after his alleged initial complaint, and two and a

   half months after his June 21, 2018 complaint. See SUMF, ¶ 11-12; 54; 80. Similar to Hysten,

   Keyworth cannot rely on merely temporal proximity to satisfy the third element of a prima facie

   case of retaliation. Keyworth must therefore support his claim with additional evidence, of

   which there is none.

          Nothing in the record suggests that Lowe’s discharged Keyworth because he complained

   about discrimination. To the contrary, the evidence shows that Lowe’s worked to support

   Keyworth and accommodated his disabilities. In January, 2018, in response to inquiry regarding

   his odd behaviors (slurring speech, smelling of alcohol, etc), Keyworth informed human

   resources that he was taking medication which may make him appear intoxicated and that he

   chewed nicotine gum, which may smell like alcohol. SUMF, ¶ 11. Human resources offered

   Keyworth resources for assistance or treatment, and Keyworth declined. SUMF, ¶ 12. Keyworth

   remained employed as an ASM. Shortly after the January 2018 discussion, Lowe’s granted

   Keyworth a leave of absence and a workplace accommodation related to his lung disease.

   SUMF, ¶¶ 13-16.

          Keyworth engaged in a protected activity on June 21, 2018, when he filed an internal

   complaint sating that he felt discriminated against by “Market 1284” (where “Store 2780” is

   located) after he was not selected for an ASM position in that market. SUMF, ¶ 54. Again,

   Keyworth cannot show that Lowe’s non-discriminatory, legitimate reason for discharge

   (employee’s poor performance including multiple allegations of sleeping at work), was pretext

   for retaliation for Keyworth engaging in protected activity. Keyworth was made aware that his




                                                  17
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 22 of 24




   performance was not meeting expectations well in advance of him lodging an internal complaint

   regarding discrimination. Approximately a week before Keyworth lodged his internal complaint,

   Hall and Joyce met with him to address coworker’s complaints that Keyworth was not available,

   and Keyworth’s sales performance. SUMF, ¶¶ 33-35. Specifically, Hall and Joyce informed

   Keyworth that his current behavior at work was unacceptable, but gave him an opportunity to

   improve his performance. Id.

           Keyworth’s discharge was a result of his continued poor performance. After he lodged

   his internal complaint: (1) an employee complained that she observed Keyworth entering a liquor

   store on his lunch break and that he smelled of alcohol when he returned (SUMF ¶ 37); (2) a

   fellow-ASM reported that no one could locate Keyworth for his scheduled shift on July 29, 2018

   (SUMF, ¶ 39-40); (3) store manager Hall found him in a dark office watching a movie (SUMF, ¶

   43-45); (4) an employee complained that while at work, Keyworth was viewing photos of

   women with minimal clothing and playing a gambling game on his phone (SUMF, ¶47)

   Keyworth sent text messages to an employee demanding he come into work, despite the

   employee reporting that he was sick (SUMF, ¶ 62-65), (6) an employee complained the

   Keyworth smelled of alcohol, was acting strange and was unavailable (SUMF, ¶ 66); (7)

   Keyworth locked the lumber doors approximately an hour before closing, locking a customer in

   the store (SUMF, ¶ 68); (8) Keyworth’s performance on sales metrics did not meet expectations

   (SUMF, ¶ 70) and (9) Keyworth was found in a storage closet, which he had fastened shut with a

   bungie cord and then refused to provide management with a statement as to why he was in the

   closet (SUMF, ¶¶ 70-74). Certainly, it is not unworthy of belief that Lowe’s would discharge an

   employee as a result of the described performance issues. See Mawson, 23 F. Supp. 2d at 1215

   (issue of pretext is also integral to claim for retaliation and failure to create genuine dispute as to




                                                     18
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 23 of 24




   the trustworthiness of the employer’s proffered reasons for discharge provides an independent

   basis to grant employer summary judgment); Morgan 108 F.3d at 1324 (no pretext for retaliation

   when employer warned employee about poor attendance before and after the employee filed

   charge and discrimination).

          In sum, Keyworth cannot establish a prima facie case of retaliation because he cannot

   establish a causal connection between his internal complaints regarding discrimination and his

   discharge. Lowe’s had a non-discriminatory reason for discharging Keyworth based on his

   performance, which was not pretextual or unworthy of belief.

   V.     CONCLUSION

          For the foregoing reasons, this Court should grant Lowe’s summary judgment on

   Keyworth’s Complaint.

   Respectfully Submitted this September 10, 2020.


                                               /s/ Steven M. Gutierrez
                                               Steven M. Gutierrez
                                               HOLLAND & HART LLP
                                               555 17th Street, Suite 3200
                                               Denver, CO 80202
                                               303-295-8531
                                               sgutierrez@hollandhart.com

                                               Attorneys for Defendant
                                               Lowe’s Companies, Inc.




                                                  19
Case 1:19-cv-02842-RM-SKC Document 40 Filed 09/10/20 USDC Colorado Page 24 of 24




                                      CERTIFICATE OF SERVICE


           I hereby certify that on September 10, 2020, I have caused to be electronically filed the

   foregoing with the Clerk of Court using CM/ECF system which will send notification of such

   filing to all counsel of record.



                                                 s/ Steven M. Gutierrez


   15183995_v2




                                                   20
